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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant




                                      STATUS REPORT

       The United States of America, by and through the U.S. Attorney for the District of

Columbia, files this status report. On February 27, 2020, the Court ordered the parties to file a

joint proposed order setting forth the terms of the waiver of the attorney-client privilege and the

authorization of disclosure of information with respect to Mr. Flynn’s ineffective assistance of

counsel claims by no later than 12:00 PM on March 6, 2020. On March 6, the parties filed a Joint

Stipulation and submitted a joint proposed Order, consistent with the District of Columbia Rules

of Professional Conduct Rule 1.6, proposing that Covington and Burling, LLP (“Covington”) be

ordered to take all actions reasonably necessary to respond to defendant Flynn’s specific

allegations of ineffective assistance of counsel. The Court issued this Order on the afternoon of

March 6, 2020.

       Government counsel shared this Order with Covington on the afternoon of March 6, 2020.

Since that time, as required by the Order, Covington has been reviewing its files and determining

whether the information it has identified is “reasonably necessary” to respond to the “specific

allegations” made by the defendant in his motions to withdraw his plea. The government has

recently received a production of partially-redacted documents relevant to this inquiry from

Covington (which have been shared with defense counsel, who is already in possession of
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unredacted versions previously produced to them by Covington), and expects to receive additional

documents and materials over the next two weeks.

       On February 27, 2020, the Court ordered the government to provide a status report

concerning proposed briefing deadlines no later than 12 p.m. on March 20, 2020. In light of the

preventative measures that the government and Covington are taking in response to the COVID-

19 pandemic, and the government’s expectation that it will receive additional relevant materials

from Covington in the next two weeks, the government respectfully asks this Court to allow the

government two additional weeks to provide a further status update or, if feasible, a proposed

briefing schedule.

       Wherefore the government asks this Court to order it to provide a further status update or,

if feasible, a proposed briefing schedule, no later than 12 p.m. on April 3, 2020.

                                                      Respectfully submitted,

                                                      TIMOTHY J. SHEA
                                                      United States Attorney
                                                      D.C. Bar 437437

                                                      By: /s/ Jocelyn Ballantine
                                                      Jocelyn Ballantine
                                                      Assistant United States Attorney
                                                      555 4th Street NW
                                                      Washington, D.C. 20530


Dated: March 20, 2020




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